           Case 2:12-cr-00322-JAM Document 23 Filed 09/20/12 Page 1 of 4


1    BENJAMIN B. WAGNER
     United States Attorney
2    TODD D. LERAS
     Assistant U.S. Attorney
3    501 I Street, Suite 10-100
     Sacramento, California 95814
4    Telephone: (916) 554-2918
5
6
7
8               IN THE UNITED STATES DISTRICT COURT FOR THE
9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )
                                      )    No. 2:12-cr-00322 MCE
12             Plaintiff,             )
                                      )   STIPULATION AND PROTECTIVE
13                                    )   ORDER REGARDING DISSEMINATION
          v.                          )   OF DISCOVERY DOCUMENTS
14                                    )   CONTAINING PERSONAL
     ALEKSANDR LASTOVSKIY, and        )   IDENTIFICATION INFORMATION
15   TATYANA SHVETS,                  )
                                      )
16             Defendants.            )
                                      )
17
18
19        IT IS HEREBY STIPULATED AND AGREED among the parties and
20   their respective counsel, Todd D. Leras, Assistant United States
21   Attorney, on behalf of the government, Matthew Scoble, Assistant
22   Federal Defender, on behalf of defendant Aleksandr Lastovskiy,
23   and Attorney Bruce Locke on behalf of defendant Tatyana Shvets,
24   that the documents to be provided as discovery in this case are
25   subject to a Protective Order.
26        Defendants are charged with various offenses related to an
27   alleged fraudulent tax refund scheme.       The parties agree that
28   discovery in the case necessarily contains Protected Information.

                                          1
            Case 2:12-cr-00322-JAM Document 23 Filed 09/20/12 Page 2 of 4


1    The phrase “Protected Information” as used in this stipulation
2    and order includes victim and witness Social Security Numbers,
3    Driver’s License Numbers, dates of birth, addresses, telephone
4    numbers, and e-mail addresses.      This Protective Order extends to
5    all documents provided by the government to defense counsel in
6    this case, including those items related to conduct not charged
7    in the Indictment.
8          By signing this Stipulation and Protective Order, defense
9    counsel agree not to share any documents containing Protected
10   Information in unredacted form with any person other than primary
11   counsel, assisting counsel, designated defense investigators, and
12   support staff.    Defense counsel may allow their clients to view
13   unredacted documents in the presence of their respective
14   attorneys, investigators and/or appropriate support staff.
15         The parties further agree that defense counsel,
16   investigators, and support staff shall not permit any defendant
17   to copy, either in writing or by other means, Protected
18   Information contained in the discovery.        Defense counsel,
19   investigators and support staff may provide their respective
20   clients with copies of documents from which all Protected
21   Information has been redacted.
22         In the event that either defendant substitutes counsel, the
23   undersigned attorneys agree to withhold documents containing
24   Protected Information from new counsel until such time as
25   substituted counsel agrees to be bound by this Protective Order.
26   ///
27   ///
28
                                         2
            Case 2:12-cr-00322-JAM Document 23 Filed 09/20/12 Page 3 of 4


1          This stipulation and protective order has been provided to
2    defense counsel for their review.       Following review of its
3    contents, Assistant U.S. Attorney Todd Leras has been authorized
4    via e-mail to sign this stipulation on behalf of Attorney Bruce
5    Locke and Assistant Federal Defender Matthew Scoble.
6
7    DATED: September 17, 2012           By:     /s/ Todd D. Leras
                                               TODD D. LERAS
8                                              Assistant U.S. Attorney
9    DATED: September 17, 2012           By:     /s/ Todd D. Leras for
                                               MATTHEW SCOBLE
10                                             Attorney for Defendant
                                               ALEKSANDR LASTOVSKIY
11
12   DATED: September 17, 2012           By: /s/ Todd D. Leras for
                                             BRUCE LOCKE
13                                           Attorney for Defendant
                                             TATYANA SHVETS
14
15
16                                     ORDER
17
18         FOR GOOD CAUSE SHOWN, pursuant to the stipulation of
19   counsel, Protected Information provided to defense counsel by the
20   government as discovery in Case Number S-12-322 MCE shall:
21         1.   Be shared in unredacted format only among primary
22   counsel, assisting counsel, designated defense investigators, and
23   support staff;
24         2.   Be viewed by a defendant in unredacted format only in
25   the presence of his or her attorney, investigator, and/or
26   appropriate support staff; and
27   ///
28
                                         3
              Case 2:12-cr-00322-JAM Document 23 Filed 09/20/12 Page 4 of 4


1         3.    Be provided to a defendant only in a copy from which all
2    Protected Information has been redacted.
3         No person shall permit a Defendant to copy, either in
4    writing or by other means, Protected Information contained in the
5    discovery.     No person shall provide substitute counsel with
6    documents containing Protected Information until such time as
7    substitute counsel has agreed to be bound by this Protective
8    Order.
9         IT IS SO ORDERED
10
     Dated: September 19, 2012
11
12                                       _____________________________
13                                       MORRISON C. ENGLAND, JR.
                                         UNITED STATES DISTRICT JUDGE
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
